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                                            August 21, 2019


VIA ECF
The Honorable John Michael Vazquez
United States District Court for the District of New Jersey
402 E State St Office Room 2020
Trenton, NJ 08608

Re: Szemple v. Rutgers_
Docket No. 19-CV-13300

Dear Judge Vazquez:

       Currently pending before you is a request for pro bono counsel filed by Plaintiff Craig
Szemple, a prisoner at Northern State Prison. I have read Mr. Szemple’s complaint, met with
him, and believe he has a meritorious case. I realize one of the Tabron factors is the availability
of counsel willing to take the case pro bono. I am willing to take this case pro bono and would
welcome appointment.




                                      Sincerely,

                                      /s/

                                      Michael Poreda
